                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

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TRACEY K. KUEHL, et al.,                               )   Case No. C14-02034-JSS
                                                       )
                      Plaintiffs,                      )   PLAINTIFFS’ THIRD
       v.                                              )   MOTION IN LIMINE
                                                       )   REGARDING ORDER OF PROOF
PAMELA SELLNER, et al.,                                )
                                                       )   Judge: Hon. Jon Stuart Scoles
                       Defendants.                     )   Trial Date: October 5-8, 2015

       At trial, Plaintiffs Tracey Kuehl, Lisa Kuehl, John Braumann, Kristine Bell, Nancy

Harvey, and the Animal Legal Defense Fund (Plaintiffs) intend to call their previously-disclosed

Fed. R. Civ. P. 26(a)(2)(A) designated expert witness David Allen during Plaintiffs’ case-in-

chief. Plaintiffs duly listed Mr. Allen on their Trial Witness List. Defendants have advised

Plaintiffs that they intend to object to Mr. Allen’s trial testimony on several grounds, one of

which involves his order of testimony during trial. Plaintiffs, therefore, respectfully move in

limine for an order from the Court allowing Plaintiffs to call their experts, including Mr. Allen,

in their case-in-chief pursuant to Federal Rule of Evidence 611 (FRE).

                                            Introduction

       This Court entered its Scheduling Order and Discovery Plan (ECF No. 10) shortly after

Plaintiffs filed their lawsuit last summer. Plaintiffs timely designed their experts as Dr. Jennifer

Conrad (a veterinarian) and Dr. Peter Klopfer (a lemur care expert); then Defendants timely

designated their experts as Pamela Sellner (as an animal care and zookeeping expert), Dr. John

Pries (a veterinarian), and Dr. Gary Pusillo (a nutritionist); and in response, shortly thereafter

Plaintiffs designated their “rebuttal” expert as David Allen, at which time designation of experts

ended. See Decl. J. Blome, Ex. 1-3. In their expert designation, Defendants characterized Ms.

Sellner’s expertise as follows: “Pamela Sellner has gained expertise over the years caring for

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many types of animals. Her expertise is based on her experiences as well as her individual efforts

at educating herself including working with other zookeepers and actual hands on experience for

years of raising animals.” Id. Ex. 2. Plaintiffs subsequently identified David Allen as an expert

in zoo administration and designated him accordingly. Mr. Allen submitted an Affidavit in

support of Plaintiffs’ Motion for Summary Judgment, (ECF No. 21-30) and Plaintiffs have

designated Mr. Allen as an expert witness on their Trial Witness List.

                                             Argument

        This Court has “reasonable control” over the mode and order of witness examination and

presentation of evidence so as to “(1) make those procedures effective for determining the truth;

(2) avoid wasting time; and (3) protect witnesses from harassment or undue embarrassment.”

FRE 611(a). In the Eighth Circuit, the parties are expected to present “all of their evidence” in

their case-in-chief, and rebuttal should limited to claims and defenses the plaintiff could not have

reasonably anticipated. Smith v. Conley, 584 F.2d 844, 846 (8th Cir. 1978) (upholding the trial

court’s decision to exclude rebuttal evidence that should have been presented in the plaintiff’s

case-in-chief); see also Gossett v. Weyerhaueser Co., 856 F.2d 1154, 1156 (8th Cir. 1988)

(discussed infra). Moreover, nothing in the Federal Rules of Civil Procedure, Federal Rules of

Evidence, or myriad cases interpreting those rules suggests that Plaintiffs are bound to present

witnesses at trial in the order they were disclosed during discovery. Indeed, compelling Plaintiffs

to adhere to such a rigid rule would result in an inefficient presentation of Plaintiffs’ case,

especially when Plaintiffs have demonstrated their willingness to call all of their witnesses in

their case-in-chief.

        Most appellate cases concerning order of proof involve the trial court’s decision to

exclude rebuttal evidence that should have been presented in the plaintiff’s case-in-chief. For

example, in Gossett v. Weyerhaeuser Co., the Eighth Circuit upheld the trial court’s decision to

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exclude rebuttal testimony from a witness because the proffered rebuttal testimony presented no

new evidence, but was “offered merely to supplement the Gossetts’ case-in-chief.” Gossett, F.2d

at 1156, n 3. Moreover, the trial court found that the plaintiffs could have presented, in their

case-in-chief, any evidence they had which might have contradicted what they knew the

defendant’s expert would present for the defendant. Id. Similarly, in Smith v. Conley, the Eighth

Circuit upheld the trial court’s decision to exclude rebuttal testimony that should have been

presented during the plaintiff’s case-in-chief because the defendant’s expert had testified on the

relevant subject matter during his deposition. Id. Cf. Berroryer v. Hertz, 672 F.2d 334, 339 (3rd

Cir. 1982) (permitting the presentation of a rebuttal witness in the plaintiff’s case-in-chief

because the defendant could not have been surprised by the witness’s testimony).

       Plaintiffs respectfully ask this Court to issue prior to trial an order allowing them to

comply with the Eighth Circuit’s preference for presenting all evidence in their case-in-chief, so

the parties may properly prepare their case without further researching or preparing to defend

Defendants’ objections on this issue. Plaintiffs properly designated Mr. Allen as an expert

witness in discovery and Defendants had more than adequate time to conduct discovery but did

not. Defendants did not take Mr. Allen’s deposition, nor did they serve expert discovery requests

on Mr. Allen. Decl. J. Blome ¶ 5-7. Notably, Defendants did not take any depositions or serve

any expert discovery on Plaintiffs’ experts. Id. Plaintiffs properly designated Mr. Allen on their

Trial Witness List. Defendants will not be surprised by the opinions Mr. Allen will offer and

have adequate time to prepare their cross examination of him.

       THEREFORE, Plaintiffs respectfully request that the Court make an order in limine

allowing Plaintiffs to call their experts, including Mr. Allen, during their case-in-chief.




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Respectfully submitted this 4th day of
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